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                            EXHIBIT A
                          Case 2:18-cv-10326 Document 1-1 Filed 12/13/18 Page 2 of 20 Page ID #:12


                     D     t.   #JQ_   Assigned        ·l+jfJ.!ry/                                      FILED              .
                                                                                                S iperior court of California
                      1 THOMAS V. GIRARDI, (SBN: 36603)                                          uCounty of Los Angeles
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             D        8
                        Attorneys for Plaintiff and the Putative Class
             ~        9
v                    10                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
~
           (\t\
CJ          0        11                          COUNTY OF LOS ANGELES , CENTRAL DISTRICT
           ~
           ~         12                                                        CASE NO.:        18STC\J01~~1
                     13    LUIS LICEA, individually and on behalf of all       CLASS ACTION COMPLAINT
                           others similarly situated,
                     14                                                           1.   NEGLIGENCE
                                          Plaintiff,                              2.   VIOLATION OF CALIFORNIA ' S UNFAIR
                     15                                                                COMPETITION LA w CAL. Bus. & PROF.
                                  V.                                                   CODE § 17200 - U LAWFUL BUSINESS
                     16
                                                                                       PRACTICES
                           F ACEBOOK, INC. , a Delaware corporation;              3.   VIOLATION OF CALIFORNIA'S UNFAIR
                     17
                           and DOES 1 through 100, inclusive,                          COMPETITION LAW CAL. Bus. & PROF.
                     18                                                                CODE § 17200 UNFAIR BUSINESS
                                                                                       PRACTICES
                     19                   Defendants.
                                                                                  4.   VIOLATION OF CALIFORNIA'S UNFAIR
                                                                                       COMPETITION LA w CAL. Bus. & PROF.
                     20
                                                                                       CODE §17200 FRAUDULENT/DECEPTIVE
                     21                                                                BUSINESS PRACTICES
                                                                                  5.   CONSTITUTIONAL INVASION OF
                     22                                                                PRIVACY
  (:)
  1..-.,
                                                                                  6.   NEGLIGENCE P ER SE
                     23                                                           7.   VIOLATION OF STATE DATA BREACH
  Ir?·                                                                                 ACTS
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                     25                                                        JURY TRIAL DEMANDED
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 !..-...             26
 !~:C:)
                           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
                     27
                                  PLAINTIFF alleges, upon information and belief, based upon the investigation made by
                     28
                           and through her attorneys, except those allegations relating to Plaintiff and his attorneys, which are
                                                                                                      Exhibit A, Page 010
                                                               CLASS ACTION COMPLAINT
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        1 alleged upon knowledge, as follows

        2                                   CLASS ACTION COMPLAINT

        3           Luis Licea ("Plaintiff'), both individually and on behalf of all others similarly situated

        4 ("the Visually Impaired Nation Class" and the Visually Impaired California Class"), alleges the

        5 following:

        6                                   I.     NATURE OF THE ACTION

        7           1.      Facebook, Inc. (hereinafter "FB" "Facebook" or "Defendant") was founded on or

        8 around 2004 and operates globally including in all 50 states the United States of America. FB had

        9 around $40.0 Billion in revenue in 2017. FB operates a website and applications ("apps") that allow

       10 people to connect. Facebook collects an extraordinary amount of data on its users, including full

       11    names and credit/debit cards. On or around September 28, 2018, FB learned that an estimated 50

       12 million consumers' private personal and financial information was obtained by an unauthorized third

       13 party in one of the largest data breaches to date. FB has not reveaied when the breach actually

       14 occurred.

       15           2.      Plaintiff, both individually and on behalf of those similarly situated persons (hereafter

       16 "Class Members"), brings this Class Action to secure redress against FB for their reckless and

       17 negligent violations of customer privacy rights, specifically against its visually impaired users.

       18 Plaintiff and Class Members are customers who entrusted Face book with their financial information,

       19 email address and passwords and other PII as defined below.

       20           3.      Plaintiff and Class Members suffered injury. The security breach compromised full

       21    names, email addresses, passwords, and on information and belief, full names, addresses, credit/debit

       22 card numbers, and other Private Identifiable Information ("PII").
1,->
       23           4.      As a result of Facebook's wrongful actions and inactions, customer information was

       24 stolen. Many of the customers who entrusted FB with their financial information have had their PII

       25    compromised, have had their privacy rights violated, have been exposed to the risk of fraud and

       26 identify theft, and have otherwise suffered damages.

       27 Ill

       28 Ill

                                                            2                            Exhibit A, Page 011
                                                 CLASS ACTION COMPLAINT
             Case 2:18-cv-10326 Document 1-1 Filed 12/13/18 Page 4 of 20 Page ID #:14




         1                                              II.     PARTIES

         2           5.      At all times relevant to this action, named Plaintiff, Luis Licea, is and was, a resident of

         3    Los Angeles County, State of California. Luis Licea is visually impaired. Licea therefore cannot

         4    easily log in and out of website and stays logged in to them out of necessity rather than for simple

         5 convenience. Licea also has difficulty to impossibility using two factor authentication due to his visual

         6    impairment. As such, Licea is particularly reliant on Facebook, Inc. to protect his Pll.

         7           6.      Plaintiff brings this action on her own behalf and on behalf of all others similarly

         8    situated, namely all other individuals who have entrusted FB with their PII, expecting Facebook to

         9 protect that data.

        10           7.      Upon information and belief, Defendant FB is a Delaware corporation but with its

        11    principle place of business in California and its corporate headquarters at 2101 North California

        12 A venue, Menlo Park, California.

        13           8.      The true names and/or capacities, whether individual, corporate, associate or otherwise,

        14 of Defendants Does 1 through 100, inclusive, and each of them, are unknown to Plaintiff, who

        15    therefore sue said Defendants by such fictitious names. Plaintiff are informed and believe, and upon

        16 such information and belief allege, that each of the Defendants fictitiously named herein as a Doe is

        17    legally responsible, negligently or in some other actionable manner, for the events and happenings

        18    hereinafter referred to, and proximately caused the injuries and damages to Plaintiff hereinafter

        19    alleged. Plaintiff will seek leave of Court to amend this Complaint to assert the true names and/or

        20 capacities of such fictitiously named Defendants when the same have been ascertained.

        21           9.      Plaintiff is informed and believes and thereupon alleges, that at all times

        22    mentioned herein, Defendants, and each of them, including Does 1 through 100, were the agents,

        23    servants, employees and/or joint ventures of their co-Defendants, and were, as such, acting within
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        24 the course, scope and authority of said agency, employment and/or joint venture, and that each and

I:, i
        25    every Defendants, as aforesaid, when acting as a principal, was negligent in the selection and

h->     26 hiring of each and every Defendants as an agent, employee and/or joint venturers.

        27    Ill

        28    ///

                                                              3                             Exhibit A, Page 012
                                                   CLASS ACTION COMPLAINT
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                                              III.   JURISDICTION AND VENUE

          2           10.       This is brought as a class action to remedy violations of California law by Defendant

          3    Facebook. This Court has jurisdiction over this action because it is a class action and the amount in

          4    controversy is in excess of the jurisdictional minimum of this Court.

          5           11.       Specifically, Defendant engaged in substantial marketing, advertising, promotion, and

          6    selling of Facebook services throughout California. This Court has personal jurisdiction over

          7 Defendant because of the business they conduct in California and thus has sufficient minimum

          8 contacts and their principal place of business and corporate headquarters are located in California.

          9    Facebook is therefore a California citizen.

         10           12.       The Court also has personal jurisdiction over the Parties because Facebook conducts a

         11    major part of their national operations with regular and continuous business activity in California, on

         12    information and belief, through its website both not exceeded in other jurisdictions throughout the

         13    United States.

         14           13.       Venue is proper in Los Angeles County pursuant to Section 395(a) of the Code ofCivil

         15    Procedure. Defendant conducts business in Los Angeles, many of the acts giving rise to the violations

         16 complained of occurred in Los Angeles County, and because Plaintiff resides in Los Angeles County.

         17                                 IV.      SUBSTANTIVE ALLEGATIONS

         18    A.     The Data Breach Unravels

         19            14.      Facebook owns and operates apps for mobile phone and internet websites. The general

         20 purpose of these app(s) and website(s) is social media for the user to connect with people and for

         21    Facebook to p~ofit off selling advertising and customer data. These website(s) and app(s) require a

         22    user to enter their full name, electronic mail address, create a password to use the apps and websites.

         23    FB also collects credit/debit numbers from its users as well as a host personal information.

         24           15.       On September 28, 2018 a major cybersecurity breach was discovered by Facebook.

         25    Defendant Facebook disclosed that hackers gained access to sensitive personal data for up to 50
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         26 millio~ users including their PII as defined above.

         27           16.       FB has not disclosed more details about the hack.

         28            17.      FB ' s stock has dropped considerably on the news of the data breach.

                                                                4                         Exhibit A, Page 013
                                                     CLASS ACTION COMPLAINT
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                      18.    Consumers, including Plaintiff and Class Members trusted FB with their sensitive

         2 data.

         3 B.        Stolen Information Is Valuable to Hackers and Thieves

         4            19. It is well known, and the subject of many media reports, that payment card data is highly

         5 coveted and a frequent target of hackers. Especially in the technology industry, the issue of data

         6    security and threats thereto, is well known. Despite well-publicized litigation and frequent public

         7 announcements of data breaches, Facebook opted to maintain an insufficient and inadequate system to

         8 protect the payment infom1ation of Plaintiff and Class Members. Private Identifiable Information is

         9 also highly coveted and a frequent target of hackers. Despite well-publicized litigation and frequent

        10    public announcements of data breaches, Facebook and its affiliates opted to maintain an insufficient

        11    and inadequate system to protect the PU of Plaintiff and Class Members.

        12           20.     FB negligently and recklessly put Plaintiffs and Class Members PIT at risk and the PII,

        13    on information and belief, was actually stolen.

        14           21.     Legitimate organizations and the criminal underground alike recognize the value of PU.

        15    Otherwise, they would not aggressively seek or pay for it. As previously seen in one of the world' s

        16    largest breaches, hackers compromised the card holder data of 40 million customers.

        17           22.     Credit or debit card infonnation is highly valuable to hackers. Credit and debit card

        18    information that is stolen from the point of sale are known as "dumps." Credit and debit c<;1rd dumps

        19    can be sold in the cybercrime underground for a retail value of about "$20 apiece." This information

        20    can also be used to clone a debit or credit card.

        21    C.     The Data Breach Has and Will Result in Additional Identity Theft and Identity Fraud

        22           23.     Facebook failed to implement and maintain reasonable security procedures and

        23    practices appropriate to the nature and scope of the information compromised in the data breach.
h-,i.
        24           24.     The ramification of Facebook's failure to keep Plaintiff and Class Members' data

        25    secure 1s severe.

        26           25.     According to Javelin Strategy and Research, "one in every three people who is notified

        27    of being a potential fraud victim becomes one . .. with 46% of consumers who had cards breached

        28    becoming fraud victims that same year." "Someone Became an Identity Theft Victim Every 2

                                                              5                          Exhibit A, Page 014
                                                   CLASS ACTION COMPLAINT
                 Case 2:18-cv-10326 Document 1-1 Filed 12/13/18 Page 7 of 20 Page ID #:17



                  Seconds Last Year," Fox Business, Feb. 5, 20-14 available at http://www.foxbusiness.com/personal-

             2 finance/2014/02/05/someone-became-identitytheft-victim-every-2-seconds-last-year.html

             3           26.      It is incorrect to assume that reimbursing a consumer for a financial loss due to fraud

             4 makes that individual whole again. On the contrary, after conducting a study, the Department of

             5 Justice ' s Bureau of Justice Statistics ("BJS") found that "among victims who had personal information

             6 used for fraudulent purposes, 29% spent a month or more resolving problems." See "Victims of

             7 Identity        Theft,"    U.S.     Department       of    Justice,    Dec       2013,     available    at

             8 https://www.bis.gov/content/pub/pdf/vitl2.pdf. In fact, the BJS reported, "resolving the problems

             9 caused by identity theft [could] take more than a year for some victims."

            10 D.         Annual Monetary Losses from Identity Theft are in the Billions of Dollars

            11           27.      Javelin Strategy and Research reports that those losses increased to $21 billion in

            12 2013. See 2013 Identity Fraud Report. There may be a time lag between when harm occurs and when

            13    it is discovered, and also between when PII is stolen and when it is used.

            14           28.      Plaintiff and Class Members now face years of constant surveillance of their financial

            15 and personal records, monitoring, and loss of rights. The Class is incurring and will continue to incur

            16 such damages in addition to any fraudulent credit and debit card charges incurred by them and the

            17 resulting loss of use of their credit and access to funds, whether or not such charges are ultimately

            18 reimbursed by the credit card companies.

            19 E.         Plaintiff and Class Members Suffered Damages

            20           29.      The data breach was a direct and proximate result of Facebook's failure to properly

            21    safeguard and protect Plaintiff and Class Members ' PII from unauthorized access, use, and disclosure,

            22 as required by various state and federal regulations, industry practices, and the common law, including

            23    Facebook's failure to establish and implement appropriate administrative, technical, and physical
 ~   ·-..

            24 safeguards to ensure the security and confidentiality of P\aintiff and Class Members' PII to protect

I', .. )
            25    against reasonably foreseeable threats to the security or integrity of such information.

            26           30.      Plaintiff and Class Members' PII is private and sensitive in nature and was

            27    inadequately protected by Facebook. Facebook did not obtain Plaintiff and Class Members ' consent

            28

                                                                     6                         Exhibit A, Page 015
                                                       CLASS ACTION C01\.1PLAINT
                   Case 2:18-cv-10326 Document 1-1 Filed 12/13/18 Page 8 of 20 Page ID #:18




               1 to disclose their PII, except to certain persons not relevant to this action, as required by applicable law

               2     and industry standards.

               3            31.     As a direct and proximate result of Facebook's wrongful action and inaction and the

               4     resulting data breach, Plaintiff and Class Members have been placed at an imminent, immediate, and

               5 continuing increased risk of harm from identity theft and identity fraud, requiring them to take the

               6    time and effort to mitigate the actual and potential impact of the subject data breach on their lives by,

               7 among other things, placing "freezes" and "alerts" with credit reporting agencies, contacting their

               8 financial institutions, closing or modifying financial accounts, and closely reviewing and monitoring

               9 their credit reports and accounts for unauthorized activity.

              10            32.     Facebook's wrongful actions and inaction directly and proximately caused the theft and

              11     dissemination into the public domain of Plaintiff and Class Members' PII, causing them to suffer, and

              12 continue to suffer, economic damages and other actual harm for which they are entitled to

              13     compensation, including:

              14            a.     Theft of their PII, including on information and belief actual theft of credit/debit card

              15            numbers;

              16            b.     The imminent and certainly impending injury flowing from potential fraud and identity

              17                   theft posed by their PII being placed in the hands of criminals and already misused via

              18                   the sale of Plaintiff and Class Members' information on the Internet black market;

              19            c.     The untimely and inadequate notification of the data breach;

              20            d.     The improper disclosure of their PII;

              21            e.     Loss of privacy;

              22            f.     Ascertainable losses in the form of out-of-pocket expenses and the value of their time
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              23                   reasonably incurred to remedy or mitigate the effects of the data breach;
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              24            g.     Ascertainable losses in the form of deprivation of the value of their PII, for which there

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              25                    is a well-established national and international market;
,~;)
1-.->         26            h.     Overpayments to Facebook for credit reporting services during the subject data breach
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              27                   in that a portion of the price paid for such services by Plaintiff and Class Members to

              28                   Facebook was for the costs of reasonable and adequate safeguards and security

                                                                    7                            Exhibit A, Page 016
                                                         CLASS ACTION COMPLAINT
        ,
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             1                    measures that would protect customers ' PII, which Facebook did not implement and, as

             2                    a result, Plaintiff and Class Members did not receive what they paid for and by

             3                    Facebook; and

             4           1.       Deprivation of rights they possess under the Unfair Competition Laws.

             5                                 V.      CLASS ACTION ALLEGATIONS

             6           33 .      Plaintiff brings this action on her own behalf and on behalf of all other

             7    persons similarly situated pursuant to Cal[fornia Civil Code § 1781 (hereinafter, "The Class"). The .

             8    Class is composed of:

             9                     All visually impaired users ofFacebook residing Nationwide whose PII was
                                   disclosed in the data breach in 20188 (the "Visually Impaired Class)
            10
                                   All visually impaired users of Facebook residing in California whose PII
            11                     was disclosed in the data breach in 20188 (the " California Visually
                                   Impaired Class) (Collectively referred to as "the Class")
            12
                         34.       Plaintiff does not know the exact number of members of The Class, since that information
            13
                  is within the exclusive control of Defendants. But, the members of The Class are believed to be in the
            14
                  millions. The Class is so numerous that joinder of all members is impracticable.
            15
                         3 5.      The Plaintiff and the membeIS of The Class share a community of interest, as
            16
                  they all have a same or similar claim arising from the same or similar wrongful actions and omissions
            17
                  of Defendants, and each of them.
            18
                                37. There are questions of law and/or fact common to The Class, which are
            19
                  substantially similar and predominate over the questions affecting the individual members. The
            20
                  claims and/or defenses of the representative Plaintiff are typical of the claims and/or defenses of
            21
                  The Class and all are based upon the same legal theories. The representative Plaintiff will fairly
            22
                  and adequately protect the interests of The Class. The Class Action is an appropriate method for
            23
                  the fair and efficient adjudication of the controversy.
f.-.,       24
h-...                    38 .      Plaintiff can and will fairly and adequately represent the interests of The
            25
t .i              Class through Plaintiff's attorneys, who are competent and qualified to prosecute this litigation.

                         39.       A class action is an appropriate method for the fair and efficient adjudication
            27
                  of this controversy.
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                                                                      8                        Exhibit A, Page 017
                                                        CLASS ACTION CO.MPLAINT
            Case 2:18-cv-10326 Document 1-1 Filed 12/13/18 Page 10 of 20 Page ID #:20




            1                                                COUNTI

            2                                                Negligence

            3                                  (On Behalf of Plaintiff and the Class)

            4          40.     Plaintiff repeats and fully incorporates the allegations contained in each and every

            5 paragraph of this Complaint.

            6          41.     Upon accepting Plaintiff and Class Members' Private Identifiable Information in their

            7 system, Facebook undertook and owed a duty to Plaintiff and Class Members to exercise reasonable

            8 care to secure and safeguard that information from being compromised, lost, stolen, misused, and

            9 or/disclosed to unauthorized parties, and to utilize commercially reasonable methods to do so. This

           10 duty included, among other things, designing, maintaining, and testing Facebook's security systems to

           11   ensure that Plaintiff and the Class Members' PII was adequately secured and protected.

           12          42.     Facebook further had a duty to implement processes that would detect a breach of its

           13   security system in a timely manner.

           14          43 .    Facebook also had a duty to timely disclose to Plaintiff and Class Members that their

           15   Private Identifiable Information had been or was reasonably believed to have been compromised.

           16 Timely disclosure was appropriate so that, among other things, Plaintiff and Class Members could

           17 take appropriate measures to avoid use of bank funds, and monitor their account information and

           18 credit reports for fraudulent activity.

           19          44.     Face book breached its duty to discover and to notify Plaintiff and Class Members of

           20 the unauthorized access by failing to di scover the security breach within reasonable time and by

           21   failing to notify Plaintiff and Class Members of the breach timely. To date, Facebook has not
           22 provided sufficient information to Plaintiff and Class Members regarding the extent and scope of the
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h··.}      23   unauthorized access and continues to breach its disclosure obligations to Plaintiff and the Class.
f.-'·      24          45.     Facebook also breached its duty to Plaintiff and Class Members to adequately protect
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 >-,       25 and safeguard this information by knowingly disregarding standard information security principles,
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1•:·'J
1·-.•      26 despite obvious risks, and by allowing unmonitored and unrestricted access to unsecured Private
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           27 Identifiable Information. Furthering its negligent practices, Facebook failed to provide adequate
           28 supervision and oversight of the Private Identifiable Information with which it is entrusted, in spite of

                                                                  9                        Exhibit A, Page 018
                                                      CLASS ACTION COMPLAINT
          Case 2:18-cv-10326 Document 1-1 Filed 12/13/18 Page 11 of 20 Page ID #:21



          1   the known risk and foreseeable likelihood of breach and misuse, which permitted a third party to

          2   gather Plaintiff's and Class Members' Private Identifiable Information, misuse the Private Identifiable

          3   Infom1ation, and intentionally disclose it to others without consent.

          4          46.      Through Facebook's acts and omissions described in this Complaint, including

          5   Facebook's failure to provide adequate security and its failure to protect Plaintiff and Class Members'

          6   Private Identifiable Information from being foreseeably captured, accessed, disseminated, stolen, and

          7   misused, Facebook unlawfully breached its duty to use reasonable care to adequately protect and

          8   secure Plaintiff and Class Members' Private Identifiable Information during the time it was within

          9   Facebook's control.

         10          47.      Further, through its failure to timely discover and provide clear notification of the data

         11   breach to consumers, Facebook prevented Plaintiff and Class Members from taking meaningful,

         12   proactive steps to secure their Private Identifiable Information.

         13          48.      Upon information and belief, Facebook improperly and inadequately safeguarded the

         14 Private Identifiable Information of Plaintiff and Class Members in deviation from standard industry

         15   rules, regulations, and practices at the time of the data breach.

         16           49.     Facebook's failure to take proper security measures to protect Plaintiff and Class

         17   Members' sensitive PII as described in this Complaint, created conditions conducive to a foreseeable,

         18   intentional criminal act, namely the unauthorized access of Plaintiff and Class Members ' Private

         19 Identifiable Information.

         20           50.     Facebook's conduct was grossly negligent and departed from all reasonable standards

         21   of care, including, but not limited to: failing to adequately protect the Private Identifiable Information;

         22   failing to conduct adequate regular security audits; failing to provide adequate and appropriate

         23   supervision of persons having access to Plaintiff and Class Members' Private Identifiable Information.

         24           51.     Neither Plaintiff nor the other Class Members contributed to the data breach and

         25   subsequent misuse of their Private Identifiable Information as described in this Complaint. As a direct
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         26   and proximate result of Facebook' s negli gence, Plaintiff and Class Members sustained actual losses

         27   and damages as described in detail above.

         28   ///

                                                               10                           Exhibit A, Page 019
                                                    CLASS ACTION COMPLAINT
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               1                                                 COUNT II

               2   Violation of California's Unfair Competition Law Cal. Bus_ & Prof. Code§ 17200 Unlawful

               3                                            Business Practices

               4                                   (On Behalf of Plaintiff and the Class)

               5          52.     Plaintiff repeats and fully incorporates the allegations contained in each and every

               6 allegation of this Complaint.

               7           53.    Facebook has violated Cal. Bus. and Prof. Code §17200 et seq. by engaging in

               8 unlawful, unfair or fraudulent business acts and practices and unfair, deceptive, untrue or misleading

               9 advertising that constitute acts of "unfair competition" as defined in Cal. Bus. Prof Code § 17200.

              10 Facebook engaged in unlawful acts and practices with respect to its services by establishing the sub-

              11   standard security practices and procedures described herein; by soliciting and collecting Plaintiffs and

              12 Class Members ' Private Identifiable Information with knowledge that the information would not be

              13   adequately protected; and by gathering Plaintiff's and Class Members' Private Identifiable

              14 Information in an unsecure electronic environment in violation of California' s data breach statute, Cal.

              15   Civ. Code § 1798.81 .5, which requires Facebook to take reasonable methods of ~afeguarding the

              16 Private Identifiable Information of Plaintiff and the Class Members.

              17          54.     In addition, Facebook engaged in unJawful acts and practices with respect to its

              18   services by failing to discover and then disclose the data breach to Plaintiff and Class Members in a

              19 timely and accurate manner, contrary to the duties imposed by Cal. Civ. Code § 1798.82. To date,

              20 Facebook has still not provided such sufficient information to Plaintiff and the Class Members.

              21          55.     As a direct and proximate result of Facebook's unlawful acts and practices, Plaintiff

              22   and the Class Members were injured and lost money or property, including but not limited to the loss
1~:)
I,··'         23   of their legally protected interest in the confidentiality and privacy of their Private Identifiable
1-, ... ,
              24 Information, and additional losses described above.
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              25          56.     Facebook knew or should have known that its system had been breached and data
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              26   security practices were inadequate to safeguard Class Members ' Private Identifiable Information and
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              27   that the risk of a data breach or theft was highly likely. Face book's actions in engaging in the above-

              28   nan1ed unlawful practices and acts were negligent, knowing and willful , and/or wanton and reckless

                                                                   11                          Exhibit A, Page 020
                                                        CLASS ACTION COMPLAINT
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              1 with respect to the rights of Class Members_

              2          57.     Plaintiff and members of the Class seek relief under Cal. Bus. & Prof. Code§ 17200,

              3 et. seq., including, but not limited to, restitution to Plaintiff and Class Members of money or property

              4 that Facebook may have acquired by means of its unlawful , and unfair business practices,

              5 restitutionary disgorgement of all profits accruing to Facebook because of its unlawful and unfair

              6 business practices, declaratory relief, attorney' s fees and costs (pursuant to Cal. Code Civ. Proc. §

              7   1021-5), and injunctive or other equitable relief.
              8                                                COUNT III

              9     Violation of California's Unfair Competition Law Cal. Bus. & Prof. Code §17200 Unfair

             10                                            Business Practices

             11                                   (On Behalf of Plaintiff and the Class)

             12          58_     Plaintiff repeats and fully incorporates the allegations contained in each and every

             13 allegation of this Complaint.
             14          59.     Facebook engaged in unfair acts and practices by soliciting and collecting Plaintiffs

             15 and Class Members' Private Identifiable Information with knowledge that the information would not
             16 be adequately protected; while Plaintiffs and the Class Members' Private Identifiable Information
             17 would be processed in an unsecure electronic environment. These unfair acts and practices were
             18 immoral, unethical, oppressive, unscrupulous, unconscionable, and/or substantially injurious to
             19 Plaintiff and the Class Members_ They were likely to deceive the publ ic into believing their Private
             20 Identifiable Information was secure, when it was not. The ham1 these practices caused to Plaintiff and
             21   the members of the Class outweighed their utility, if any_

             22          60.     Facebook engaged in unfair acts and practices with respect to the provision of its
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 1.. -.1.
             23 services by failing to enact adequate privacy and security measures and protect Class Members'
h-.ti
1,. .... ~
             24 Private Identifiable Information from further unauthorized disclosure, release, data breaches, and theft,

I',._}       25 and failing to timely discovery and give notice of the Data Breach. These unfair acts and practices
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 ,-.,
j,.-J·       26 were immoral, unethical, oppressive, unscrupulous, unconscionable, and/or substantially injurious to
......
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             27 Plaintiff and Class Members. They were likely to deceive the public into believing their Private
             28 Identifiable Information was secure, when it was not. The harm these practices caused to Plaintiff and

                                                                       12                    Exhibit A, Page 021
                                                       CLASS ACTION COMPLAINT
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             1 the Class Members outweighed their utility, if any.

             2           61.     As a direct and proximate result of Facebook's acts of unfair practices and acts,

             3 Plaintiff and the members of the Class were injured and lost money or property, including but not

             4   limited to the loss of their legally protected interest in the confidentiality and privacy of their PII, and

             5 additional losses described above.

             6           62.     Facebook knew or should have known that its systems and data security practices were

             7 inadequate to safeguard Class Members' Private Identifiable Information and that the risk of a data

             8 breach or theft was highly likely. Facebook's actions in engaging in the above-named unlawful

             9 practices and acts were negligent, knowing and willful, and/or wanton and reckless with respect to the

            10 rights of the Class Members.

            11           63.     The members of the Class seek relief under Cal. Bus. & Prof. Code § 17200, et.

            12 seq. , including, but not limited to, restitution to Plaintiff and Class Members of money or property

            13   that the Facebook may have acquired by means of its unfair business practices, restitutionary

            14 disgorgement of all profits accruing to Facebook because of its unfair business practices,

            15   declaratory relief, attorney's fees and costs (pursuant to Cal. Code Civ. Proc. §1021.5), and

            16 injunctive or other equitable relief.

            17                                                  COUNT IV

            18         Violation of California's Unfair Competition Law Cal. Bus. & Prof. Code §17200

            19                                 Fraudulent/Deceptive Business Practices

            20                                    (On Behalf of Plaintiff and the Class)

            21           64.     Plaintiff repeats and fully incorporates the allegations contained in each and every

            22   allegation of this Complaint.
1... -.l·   23           65.     Face book engaged in fraudulent and deceptive acts and practices by representing and

1, •.,      24   advertising that it would maintain adequate data privacy and security practices and procedures to

            25   safeguard Plaintiff's and the Class Members' Private Identifiable Information from unauthorized
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            26   disclosure, release, data breaches, and theft; and representing and advertising that it did and would

            27   comply with the requirements of relevant federal and state laws pertaining to the privacy and security

            28   of the members of the Class' Private Identifiable Information. These representations were likely to

                                                                     13                         Exhibit A, Page 022
                                                       CLASS ACTION COMPLAINT
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             1 deceive members of the public, including Plaintiff and Class Members, into believing their Private

             2 Identifiable Infom1ation was securely stored, when it was not, and that Facebook was complying with

             3 relevant law, when it was not.

             4          66.     Facebook engaged in fraudulent and deceptive acts and practices by omitting,

             5 suppressing, and concealing the material fact of the inadequacy of the privacy and security

             6 protections for Class Members ' Private Identifiable Information. At the time that Class Members

             7 were using Facebook's system, Facebook failed to disclose to Class Members that its data security

             8 systems failed to meet legal and industry standards for the protection of their Private Identifiable

             9 Information. Plaintiff would not have entrusted Facebook with their private information if they

            10 had known about its substandard data security practices. These representations were likely to

            11   deceive members of the public, including Plaintiff and the Class Members, into believing their

            12 Private Identifiable Information was secure, when it was not, and that Facebook was complying

            13   with relevant law and industry standards, when it was not.

            14          67.      As a direct and proximate result of Facebook's deceptive practices and acts,

            15   Plaintiff and the Class Members were injured and lost money or property, including but not

            16 limited to the loss of their legally protected interest in the confidentiality and privacy of their

            17 Private Identifiable Information, and additional losses described above.

            18          68.     Facebook knew or should have known that its system and data security practices

            19 were inadequate to safeguard Class Members ' PU and that the risk of a data breach or theft was

            20 highly likely. Facebook's actions in engaging in the above-named unlawful practices and acts

            21   were negligent, knowing and willful, and/or wanton and reckless with respect to the rights of Class

            22 Members.
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/.,···      23          69.     Class Members seek relief under Cal. Bus. & Prof. Code§ 17200, et. seq .,
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            24 including, but not linuted to, restitution to Plaintiff and Class Members of money or property that
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            25   Facebook may have acquired by means of its fraudulent and deceptive business practices,
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1~::        26 restitutionary disgorgement of all profits accruing to Facebook because of its fraudulent and
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 .... .
            27 deceptive business practices, declaratory relief, attorney ' s fees and costs (pursuant to Cal. Code

            28 Civ. Proc. § 1021.5), and injunctive or other equitable relief.

                                                                   14                        Exhibit A, Page 023
                                                      CLASS ACTION COMPLAINT
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             1                                                COUNTV

             2                                   Constitutional Invasion-of Privacy

             3                                   (On Behalf of Plaintiff and the Class)

             4          70.     Plaintiff repeats and fully incorporates the allegations contained in each and every

             5   allegation of this Complaint.

             6          71.     Cal. Const. , Art. 1., section 1 provides that " [a]ll people are by nature free and

             7   independent and have inalienable rights. Among these are enjoying and defending life and liberty,

             8 acquiring, possessing, and protecting property, and pursuing and obtaining safety, happiness, and

             9 privacy."

            10          72.     Plaintiff and Class members had a legally protected privacy interest in the Private

            11   Identifiable Information provided to Facebook.

            12          73.     Plaintiff and Class Members had a reasonable expectation of privacy as to the

            13   Private Identifiable Information they provided to Facebook under the circumstances of their

            14 purchases.

            15          74.     Facebook's actions and inactions amounted to a serious invasion of the protected

            16 privacy interests of Plaintiff and Class Members.

            17          75.     Facebook's invasion of Plaintiff and Class Members' reasonable expectation of

            18   privacy caused Plaintiff and Class members to suffer damages.

            19                                                COUNT VI

            20                                             Negligence Per Se

            21                                   (On Behalf of Plaintiff and the Class)

            22          76.     Plaintiff repeats and fully incorporates the allegations contained in each and every

1-,-,       23   allegation of this Complaint.
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            24          77.     Pursuant to state laws in California, Facebook had a duty to those California Class

            25   Members to implement and maintain reasonable security procedures and practices to safeguard
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            26   Plaintiff and Class Members' Personal Information:

            27                  a. California: Cal Civ. Code§ 1798.81.5

            28          78.     Facebook breached their duties to Plaintiff and California Class Members as

                                                                 15                           Exhibit A, Page 024
                                                      CLASS ACTION COMPLAINT
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          1 established under Cal Civ. Code§ 1798.81.5 by failing to provide fair, reasonable, or adequate

          2   computer systems and data security practices to safeguard Plaintiff and Class Members ' Personal

          3 Information.

          4            79.   Facebook's failure to comply with applicable laws and regulations constitutes

          5 negligence per se.

          6            80.   But for Facebook's wrongful and negligent breach of their duties owed to Plaintiff

          7 and California Class Members, Plaintiff and California Class Members would not have been

          8 injured.

          9            81.   The injury and harm suffered by Plaintiff and California Class Members was the

         10 reasonably foreseeable result of Facebook's breach of their duties. Facebook knew or should have

         11   known that they were failing to meet their duties, and that Facebook's breach would cause Plaintiff

         12 and California Class Members to experience the foreseeable harms associated with the exposure of

         13   their Personal Information.

         14            82.   As a direct and proximate result of Facebook's negligent conduct, Plaintiff and

         15   Class Members have suffered injury and are entitled to damages in an amount to be proven at trial.

         16                                               COUNT VII

         17                                   Violation of State Data Breach Acts

         18                                   (On Behalf of Plaintiff and the Class)

         19            83.   Plaintiff repeats and fully incorporates the allegations contained in each and every

         20   allegation of this Complaint.

         21            84.   Facebook owns, licenses, and/or maintains computerized data that includes Plaintiff

         22   and Class Members ' PII.

         23            85.   Facebook was required to, but failed, to take all reasonable steps to dispose, or

         24   arrange for the disposal, of records within its custody or control containing PII when the records

         25   were no longer to be retained, by shredding, erasing, or otherwise modifying the personal
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         26   information in those records to make it unreadable or undecipherable through any means.

         27            86.   Facebook's conduct, as alleged above, violated the data breach statutes of

         28   California, including: California, Cal. Civ. Code §§ 1798.80 et. seq.;

                                                             16                         Exhibit A, Page 025
                                                  CLASS ACTION COMPLAINT
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            1          87.     Facebook was required to, but failed, to implement and maintain reasonable

            2 security procedures and practices appropriate to the nature and scope of the information

            3 compromised in the Data Breach.

            4          88.     The Data Breach constituted a "breach of the security system" within the meaning

            5 of section 1798.82(g) of the California Civil Code.

            6          89.     The information compromised in the Data Breach constituted "personal

            7 infonnation" within the meaning of section 1798.80(e) of the California Civil Code.

            8          90.     Like other State Data Breach Acts, California Civil Code§ 1798.80(e) requires

            9 disclosure of data breaches "in the most expedient time possible and without unreasonable delay ..

           10

           11          91.     Facebook violated Cal. Civ. Code§ 1798.80(e) by unreasonably delaying

           12 disclosure of the Data Breach to Plaintiff and other Class Members, whose PII was, or was

           13   reasonably believed to have been, acquired by an unauthorized person.

           14          92.     Upon information and belief, no law enforcement agency instructed Facebook that

           15   notification to Plaintiff and Class Members would impede a criminal investigation.

           16          93.     As a result of Face book's violation of State Data Breach Acts, including Cal. Civ.

           17 Code § 1798.80, et seq. , Plaintiff and Class Members incurred economic damages, including

           18 expenses associated with monitoring their personal and financial information to prevent further

           19 fraud.

           20          94.     Plaintiff, individually and on behalf of the Class, seek all remedies available under

           21   Cal. Civ. Code§ 1798.84, including, but not limited to: (a) actual damages suffered by Class

           22 Members as alleged above; (b) statutory damages for Facebook' s willful, intentional, and/or

           23   reckJess violation of Cal. Civ. Code§ 1798.83 ; (c) equitable relief; and (d) reasonable attorneys'

           24 fees and costs under Cal. Civ. Code § I 798 .84(g).
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           25          95 .    Because Facebook was guilty of oppression, fraud or malice, in that it failed to act
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           26 with a willful and conscious disregard of Plaintiff and Class Members' rights, Plaintiff also seeks

           27 punitive damages, individually and on behalf of the Class.

           28 ///

                                                                 17                       Exhibit A, Page 026
                                                    CLASS ACTION COMPLAINT
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                                                    PRAYER FOR RELIEF

           2          WHEREFORE, Plaintiff, individually and on behalf of all Class Members proposed in this

           3   Complaint, respectfully requests that the Court enter judgment in her favor and against Facebook

           4   as follows:

           5          A.     For an Order certifying the National and California Class as defined here, and

           6                 appointing Plaintiff and her Counsel to represent the National and California Class;

           7          B.     For equitable relief enjoining Facebook from engaging in the wrongful conduct

           8                 complained of here pertaining to the misuse and/or disclosure of Plaintiff and Class

           9                 Members ' Private Identifiable Information, and from refusing to issue prompt,

          10                 complete, and accurate disclosures to the Plaintiff and Class Members;

          11          C.     For equitable relief compelling Facebook to utilize appropriate methods and

          12                 policies with respect to consumer data collection, storage, and safety and to

          13                 disclose with specificity to Class Members the type of PII compromised.

          14          D.     For equitable relief requiring restitution and disgorgement of the

          15                 revenues wrongfully retained as a result of Facebook's wrongful conduct;

          16          E.     For an award of actual damages and compensatory damages, in an

          17                 amount to be determined;

          18          F.     For an award of costs of suit and attorneys' fees, as allowable by law; and

          19          G.     Such other and further relief as this court may deem j ust and proper.

          20          E.     For Punitive Damages.

          21

          22   DATED: October 15, 2018                   GIRARDI KEESE
                                                                    J




          23

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                                                        By:
          25                                                  KEITH D. GRIFFIN, ESQ.
I', ..)
                                                              Attorneys for PLAINTIFF
(:)       26


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                                                             18                         Exhibit A, Page 027
                                                  CLASS ACTION COMPLAINT
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                                                   VI.    DEMAND FOR JURY TRIAL

              2          Plaintiff, on behalf of themselves, and all others similarly situated, hereby demands a jury

              3 trial for all claims so triable.

              4 DATED: October 15, 2018                       GIRARDI I KEESE
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                                                              By:
              7
                                                                    Attorneys for PLAINTIFF
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